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IN THE UNITED STATES DISTRICT COURT
FOR THE Ula the Ld Sha fes DISTRICT OF Megha
DIVISION

da'Vok D. DowtE

Petitioner/Defendant,

CRIMINAL CASE No. O4 -02.34

Versus
THE UNITED STATES oF AMERICA,

Respondent

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MOTION OF PETITIONER FOR MODIFICATION OR REDUCTION OF SENTENCE BASED
UPON AN INTERVENING POST-SENTENCING CHANCE IN THE UNITED STATES
SENTENCING GUIDELINES PERTAINING TO COROLLARY CRIMINAL HISTORY
CATEGORY (AMENDMENT 12) WHICH EFFECTIVELY LOWERS PETITIONER'S
TERM OF IMPRISONMENT

NOW INTO COURT COMES the Petitioner and Defendant herein, ) @‘\>, Nb. Dowie

appearing in and of her own behalf, as a pro se litigant, and respectfully moves

this Honorable Court for an ORDER modifying and thus reducing her sentence of

Use-firly-cvy months (Alas) imprisonment, pursant to this Honorable Court's jurisdi-

ctional authority as set forth and as containged in 18 United States Code § 3582

(c) (2).

I. STATEMENT OF THE CASE

Petitioner/defendant in the underlying above-number criminal case, was sentenced

by this Honorable Court, on or about Decemloor IQ ome. Petitioner Was

Sentenced by this Honorable Court to a term of imprisonment of \4& months,

at Offense Level AH » with a Criminal History Category of {WV » followed by
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incarcerated, .
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Any detailed or extended statement of the facts of the case would be improper
and unavailing, on the ground that Petitioner's instant motion for sentence reduction
is, as a matter of law, a continuation of the criminal case and is not a civil post-
conviction relief pleading. See, e.g., Unidted States v. Fair, 326 F.3d 1317 (llth Cir.
2003), followed by the overwhelming sister circuits. Therefore, Petitioner herein
does not seek to intorduce new evidence or to argue or litigate the facts of the case.
To the contrary, Petitioner's instant Motion pursuant to 18 United States Code § 3582
(c) (2) seeks a reduction of her term of imprisonment as a result of an intervening,
post-sentencing change of the United States Sentencing Guidelines (hereinafter "USSG"
or "the Guidelines"]. However, the current Advisory Guidelines apply.

II, AMENDMENTS TO THE GUIDELINES

On May 1, 2007 the United States Sentencing Commission [hereinafter "USSC" or
"the Commission] sent to the United States Congress proposed changes to the Guide-
lines, which included interalia, Amendment 12. The Criminal History to the Sentencing
Guidelines -- Amend. 12 -- will effectivaly reduce Petitioner's sentence by two (2)
Offense Levels -- from the current level AY) to a Level AG » The Commission
stated in its "Reason for Amendment:

The Commission identified as a policy priority for amendment cycle
ending May 1, 2007, "continuation of it's work with congressional,
executive, and judicail branches of the government and other inter-
ested parties on cocaine sentencing policy, "including re-evaluating

the Commission's 2002 report to Congress, Cocaine and Federal Senten-

cing Policy. [See, AMENDMENTS TO THE SENTENCING GUIDELINES, pp. 45-46]
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Clearly, atthe. SenbensdnskComisetoncrechigtze Filed podS/OR 1 HAG wis should
be accorded the disparities surrounding corollary criminal history. Petitioner respec-
submits that this Honorable Court go too will accord the same or similar priority stat-
us in ruling upon Petitioner's instant motion fro a reduction in sentence.

The Criminal Histroy Category (Amendment 12) to the Sentencing Guidelines addre-
sses two critical areas of Chapter Four criminal history rules: the counting of multiple
prior sentences and the use of misdemeanor and petty offenses in determining a defendant's
criminal history score. It is respectfully requested that this Honorable Court grant unto
Petitioner such other and further reduction of her sentence resulting from the Criminal

History Category Amend. 12,

IIL. BASED UPON THE SUPREME COURT'S BOOKER DECISION ABOLISHING THE
MANDATORY SENTENCING GUIDELINES IN ALL CONTEXTS THE BOOKER ADVISORY
GUIDELINES APPLY TO PETITIONER'S INSTANT § 3582(c) MOTION FOR SENTENCE
REDUCTION, THUS EMPOWERING THIS HONORABLE COURT TO CONSIDER THE § 3553(a)
FACTORS, CALCULATE A NEW GUIDELINE RANGE AND RESENTENCE PETITIONER ACCORDINGLY

This Honorable Court in resentencing Petitioner herein, pursuant to this instant
18 U.S.G. § 3582(c)(2) to account for a post-sentencing U.S, Sentencing Guidelines amen-
dment that reduces the applicable range of punishment, must apply the Guidelines as advis—
ory, even though the old mandatory Guidelines were in effect at the time of Petitoner's
original sentencing in this Court.

In United States v. Hicks, 472 F.3d 1167 (9th Cir. 2007), the U.S. Court of Appeals
for the Ninth Circuit held that where, as here, a defendant filed a motion to reduce his
sentence pursuant to 18 U.S.G. §994(0), the Guidelines must be applied in an advisory
manner. According to the Ninth Circuit's analysis, ‘a mandatory system is no longer an
open choice’, as a result of the Supreme Court's decision in United States v. Booker,
543 U.S. at 263, Clearly, this Court, in resentencing Petitioner, has the discretion,
pursuant to the now advisory Guidelines, to consider the factors set forth in § 3553(a),
and calculate a new Guideline range, and issue a new Sentence, accordingly.

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IV. CONCLUSION

For the foregoing and aforestated reasons, Petitioner herein respectfully
requests this Honorable Court to apply the advisory Sentencing Guidelines to the

instant resentencing 18 U.S.C § 3582 (ce) (2) proceedings, notwithstanding that the

Guidelines and considering the factors set forth in § 3353(a), Petitioner requests
this Honorable Court to apply a newly calculated Fange and then determine an

appropriate sentence for Petitioner, accordingly,

Petitioner further prays that this Honorable Court will grant unto her such

other and further relief as may be deemed just and Proper under the circumstances,

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CERTIFICATE OF SERVICE

I, pro se, hereby certify that on

I served upon the following interested paryt, a true copy of the foregoing MOTION

FOR MODIFICATION OR REDUCTION OF SENTENCE, by United Stated Mail, First-Class,

postage prepaid, as follows:

tlonozable Judge Roger W. hes

ieieone penta pro se

FUTHERMORE, for the reasons stated above the Petitioner prays to the Honorable

Court to correct any procedurla defaults in holding with Haines v. Kerner 404 U.S.

519, 92 5. ct. 594, 30 L. Ed. 2d. 652, “Allegations of pro se complaint are held to

be less stringent standards than formal pleadings drafted by lawyers.
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ADVISORY GUIDELINES APPLY 10 PETITIONER'S 'S INSTANT 18 § 3582(c)
Case BNOETON PORS SEMIENCR ORENUE EE CNL aus Teo a Is ere COURT TO
CONSIDER THE § 3553(a) FACTORS, CALCULATE A NEW GUIDELINE RANGE AND |
RESENTENCE PETITIONER/DEFENDANT ACCORDINGLY

This Honorable Court in resentencing Petitiorer/Defendant herein, pursuant
to this instant 1§ U.S.C. § 3382(c)(2) to account for a post-sentencing tis,
Sentencing Guidelines amendment that reduces the épplicable rarze of punishment,
Must apply the Cuidelines as atvisory, even though the old mandatory Guidelines
were in effect at the time of Petitiorer's/Defendent's original sentencing

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of Appeals for the Ninth Circuit held that where, as here, a defendant filed
a motion to reduce his sentence Pursuant to 18 U.§.C. § 3582(c)}(2), which
permits a District Coure to resentence a defendert whose sentencing range
has teen lowered by the Sentencing Commission pursuant to 18 U.S.C. § 994(03,
the Guidelines must be applied in an advisory manner. According tc the Ninth
Circuit's analysis, "a mandatory System is no longer an open choice", as a
result of the Supreme Court's decision in United States v. Booker, 543 US
220, 160 L Ed 2d 621, Clearly, this Court, in resentencing Petitioner/
Defendant has the discretion, pursuant to the now adviscrs Guidelines, to
consider the factors set forth in § 3553{a), and calculate a new Guideline

range, and issue a new Senterce, accordingly. -

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of the foregoing MOTION FOR MODIFICATION OR REDUCTION OF SENTENCE, by United.

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